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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA




               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION

GRANGE MUTUAL                               )
CASUALTY COMPANY,                           )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )     CIVIL ACTION FILE NO.
                                            )     ___________________
INDIAN SUMMER CARPET MILLS,                 )
INC.; THE WATER WORKS AND                   )
SEWER BOARD OF THE CITY OF                  )
GADSDEN; and THE WATER                      )
WORKS AND SEWER BOARD OF                    )
THE TOWN OF CENTRE;                         )
                                            )
      Defendants.                           )

             COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff Grange Mutual Casualty Company (“Grange”) files this Complaint

for Declaratory Judgment.

                                   PARTIES

                                       1.

      Grange is incorporated under the laws of Ohio with its principal place of

business in Ohio. Grange seeks a declaration of its coverage obligations, if any,

owed under insurance policies issued to Indian Summer Carpet Mills, Inc. as the

named insured.
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                                        2.

      Defendant Indian Summer Carpet Mills, Inc. (“Indian Summer”) is

incorporated under the laws of Georgia with its principal place of business in

Georgia. It may be served through its registered agent, James L. Orr, 601 Callahan

Road, Dalton, Georgia 30721.

                                        3.

      Defendant The Water Works and Sewer Board of the City of Gadsden

(“Gadsden Water”) is an Alabama municipal corporation formed pursuant to Ala.

Code § 11-50-230, with its principal place of business in Alabama. It may be served

through its chief executive officer at 515 Albert Rains Boulevard, Gadsden,

Alabama 35901-2562.

                                        4.

      Defendant The Water Works and Sewer Board of the City of Centre

(“Centre”) is an Alabama municipal corporation formed pursuant to Ala. Code §

11-50-230, with its principal place of business in Alabama. It may be served

through its chief executive officer at 130 South River Street, Centre, Alabama

35960.




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                                  JURISDICTION

                                          5.

      There is complete diversity of citizenship between Grange, who is a citizen

of Ohio, and Defendants who are citizens of Georgia and Alabama for purposes of

federal court jurisdiction.

                                          6.

      The amount in controversy exceeds $75,000.

                                          7.

      This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1332.

                                          8.

      There is an actual case or controversy regarding Grange’s coverage

obligations, if any, for claims asserted in litigation pending in this judicial district

as well. 28. U.S.C. § 2201.

                                          9.

      Venue is proper because Defendants Gadsden Water and Centre Water are

located in Etowah County and Cherokee County, respectively, both of which are

within the Northern District of Alabama, Middle Division. 28. U.S.C. § 1391(b).




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                          UNDERLYING LAWSUITS

                                        10.

      Gadsden Water filed a civil action against Indian Summer and others in the

Circuit Court of Etowah County, Alabama on September 22, 2016, where it was

assigned case number 31-CV-2016-900676.00, a true and complete copy of which

is attached as Exhibit A. Gadsden Water’s civil action has been removed to this

Court where it has been assigned civil action number 4:16-cv-01755-KOB.

                                        11.

      Centre Water filed a civil action against Indian Summer and others in the

Circuit Court of Cherokee County, Alabama on May 15, 2017, where it was

assigned case number 13-CV-2017-900406.00, a true and complete copy of which

is attached as Exhibit B. Centre Water’s civil action has been removed to this Court

where it has been assigned civil action number 4:17-cv-01026-KOB

                                        12.

      In the Underlying Lawsuits, Defendants Gadsden Water and Centre Water

allege that Indian Summer and its co-Defendants manufacture carpets or other

textile products in the Dalton, Georgia area, or supply chemical products to them.

Gadsden Water and Centre Water allege that Indian Summer and its co-defendants

discharge toxic chemicals in their industrial wastewater from their manufacturing

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facilities in or around Dalton and that these toxic chemicals resist water treatment

at Dalton Utilities’ wastewater treatment plant. Gadsden Water and Centre Water

allege this waste is then pumped to a 9,800-acre Land Application System (“LAS”)

that borders the Conasauga River. Gadsden Water and Centre Water allege that this

waste then seeps from the LAS into the Conasauga River. Defendant Gadsden

Water alleges that the Conasauga River is one of five major tributaries for the Coosa

River, which is its primary source for water.

                                        13.

      More specifically, Gadsden Water and Centre Water allege that Indian

Summer and its co-Defendants discharge perfluorinated compounds (“PFC”),

perfluorooctanic acid (“PFOA”), perfluorooctane sulfonate (“PFOS”) and related

chemicals. They contend that Indian Summer and its co-Defendants utilize these

chemicals in the stain-resistant carpeting manufacturing process.

                                        14.

      Gadsden Water and Centre Water assert that the Environment Protection

Agency has identified industrial wastewater from manufacturing facilities from

Indian Summer and its co-defendants as the source of PFOA and PFOS entering the

Consauga River.




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                                       15.

      Gadsden Water and Centre Water assert further that exposure to even low

levels of PFOA, PFOS and related chemicals causes heightened risk of testicular

cancer, kidney cancer, ulcerative colitis, thyroid disease, high cholesterol and

pregnancy-related hypertension.

                                       16.

      Gadsden Water and Centre Water allege that they began regular testing for

PFOA and PFOS in the water supply after May 2016 and have consistently found

PFOA and PROS levels that combine to meet or exceed a threshold of .07 ppb,

which allegedly is the limit set by the EPA in May 2016.

                                       17.

      Gadsden Water and Centre Water allege that their water treatment plants

cannot remove the toxic chemicals discharged by Indian Summer and its co-

defendants. As a consequence, Gadsden Water and Centre Water contend they have

sustained substantial economic and consequential damages, including future

expenses for installing and operating a filtration system capable of removing the

toxic chemicals, and lost profits and sales due to local residents not wanting to

purchase water from them.




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                                            18.

          Gadsden Water and Centre Water assert claims against Indian Summer and

its co-defendants that include negligence, nuisance, trespass, and seeks

compensatory damages, punitive damages, injunctive relief and attorney’s fees.

                                            19.

          Grange is defending Indian Summer in both actions under reservation of

rights.

                               PRIMARY POLICY PROVISIONS

                                            20.

          Grange issued policy number CPP 2618437-00 to Indian Summer as the

named insured for the period December 21, 2008 to December 21, 2009

(hereinafter, “the 2008 Primary Policy”). A certified copy of the 2008 Primary

Policy is attached hereto as Exhibit C.

                                            21.

          The 2008 Primary Policy contains the following exclusion:


          f.       Pollution

                   (1)   “Bodily injury” or “property damage” arising out of the
                         actual, alleged or threatened discharge, dispersal,
                         seepage, migration, release or escape of “pollutants”:



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          (a)   At or from any premises, site or location which is
                or was at any time owned or occupied by, or rented
                or loaned to, any insured.         However, this
                subparagraph does not apply to:

                (i)     “Bodily injury” if sustained within a
                        building and caused by smoke, fumes, vapor
                        or soot from equipment used to heat that
                        building.

                (ii)    “Bodily injury” or “property damage” for
                        which you may be held liable, if you are a
                        contractor and the owner or lessee of such
                        premises, site or location has been added to
                        your policy as an additional insured with
                        respect to your ongoing operations
                        performed for that additional insured at that
                        premises, site or location and such premises,
                        site or location is not and never was owned
                        or occupied by, or rented or loaned to, any
                        insured, other than that additional insured; or

                (iii)   “Bodily injury” or “property damage”
                        arising out of heat, smoke or fumes from a
                        “hostile fire.”

          (b)   At or from any premises, site or location which is
                or was at any time used by or for any insured or
                others for the handling, storage, disposal,
                processing or treatment of waste;

          (c)   Which are or were at any time transported,
                handled, stored, treated, disposed of, or processed
                as waste by or for:

                (i)     Any insured; or



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                (ii)   Any person or organization for whom you
                       may be legally responsible; or

          (d)   At or from any premises, site or location on which
                any insured or any contractor, or subcontractors,
                working directly or indirectly on any insured’s
                behalf, are performing operations if the
                “pollutants” are brought on or to the premises, site
                or location in connection with such operations by
                such insured, contractor or subcontractor.
                However, this subparagraph does not apply to:

                (i)    “Bodily injury” or “property damage”
                       arising out of the escape of fuels, lubricants
                       or other operating fluids which are needed to
                       perform the normal electrical, hydraulic or
                       mechanical functions necessary for the
                       operation of “mobile equipment” or its parts,
                       if such fuels, lubricants or other operating
                       fluids escape from a vehicle part designed to
                       hold, store or receive them. This exception
                       does not apply if the “bodily injury” or
                       “property damage” arises out of the
                       intentional discharge, dispersal or release of
                       the fuels, lubricants or other operating fluids,
                       or if such fuels, lubricants or other operating
                       fluids are brought on or to the premises, site
                       or location with the intent that they be
                       discharged, dispersed or released as part of
                       the operations being performed by such
                       insured, contractor or subcontractor;

                (ii)   “Bodily injury” or “property damage”
                       sustained within a building and caused by
                       the release of gases, fumes or vapors from
                       materials brought into that building in
                       connection with operations being performed


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                                by you or on your behalf by a contractor or
                                subcontractor; or

                        (iii)   “Bodily injury” or “property damage”
                                arising out of heat, smoke or fumes from a
                                “hostile fire”.

                  (e)   At or from any premises, site or location on which
                        any insured or any contractors or subcontractors
                        working directly or indirectly on any insured’s
                        behalf are performing operations if the operations
                        are to test for, monitor, clean up, remove, contain,
                        treat, detoxify or neutralize, or in any way respond
                        to or assess the effects of “pollutants.”

            (2)   Any loss, cost or expense arising out of any:

                  (a)   Request, demand, order or statutory or regulatory
                        requirement that any insured or others test for,
                        monitor, clean up, remove, contain, treat, detoxify
                        or neutralize, or in any way respond to, or assess
                        the effects of “pollutants”; or

                  (b)   Claim or “suit” by or on behalf of a governmental
                        authority for damages because of testing for
                        monitoring, cleaning up, removing, containing,
                        treating, detoxifying or neutralizing, or in any way
                        responding to or assessing the effects of
                        “pollutants”

                                       22.

      The 2008 Primary Policy defines “pollutants” as “any solid, liquid, gaseous

or thermal irritant or contaminant, including smoke, vapor, soot, fumes, acids,




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alkalis, chemicals, and waste.      Waste includes materials to be recycled,

reconditioned or reclaimed.”

                                        23.

      Grange issued policy number CPP 2618437-01 to Indian Summer as the

named insured for the period December 21, 2009 to December 21, 2010

(hereinafter, “the 2009 Primary Policy”). A certified copy of the 2009 Primary

Policy is attached hereto as Exhibit D. The 2009 Primary Policy contains the same

pollution exclusion and definition of “pollutants” as the 2008 Primary Policy.

                                        24.

      Grange issued policy number CPP 2618437-02 to Indian Summer as the

named insured for the period December 21, 2010 to December 21, 2011

(hereinafter, “the 2010 Primary Policy”). A certified copy of the 2010 Primary

Policy is attached hereto as Exhibit E. The 2010 Primary Policy contains the same

pollution exclusion and definition of “pollutants” as the 2009 Primary Policy and

the 2008 Primary Policy.

                                        25.

      Grange issued policy number CPP 2618437-03 to Indian Summer as the

named insured for the period December 21, 2011 to December 21, 2012

(hereinafter, “the 2011 Primary Policy”). A certified copy of the 2011 Primary

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Policy is attached hereto as Exhibit F. The 2011 Primary Policy contains the same

pollution exclusion and definition of “pollutants” as the 2010 Primary Policy, the

2009 Primary Policy and the 2008 Primary Policy.

                                       26.

      The foregoing primary policies were delivered to Indian Summer in Georgia.

                        UMBRELLA POLICY PROVISIONS

                                       27.

      Grange issued an umbrella policy, policy number CUP 2618438-00 to Indian

Summer as the named insured for the period December 21, 2008 to December 21,

2009 (hereinafter, “the 2008 Umbrella Policy”). A certified copy of the 2008

Umbrella Policy is attached hereto as Exhibit G.

                                       28.

      The 2008 Umbrella Policy includes an Amended Pollution Exclusion

endorsement. The Amended Pollution Exclusion includes the following:

      This endorsement modifies insurance provided under the following:
      COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
      Exclusion i. Pollution of Paragraph 2. Exclusions of SECTION I –
      COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
      LIABILITY is deleted and replaced by the following:

      f.    Pollution




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    (1)   “Bodily injury” or “property damage” arising out of the
          actual, alleged or threatened discharge, seepage,
          migration, dispersal, release or escape of “pollutants”:

                             *        *   *

          (b)   At or from any premises, site or location that is or
                was at any time, owned or occupied by, or rented
                or loaned to, any insured.         However, this
                subparagraph does not apply to:

                (i)    “Bodily injury” or “property damage” for
                       which you may be held liable, if you are a
                       contractor and the owner or lessee of such
                       premises, site or location has been added to
                       your applicable “underlying insurance” as
                       an additional insured with respect to your
                       ongoing operations performed for that
                       additional insured at that premises, site or
                       location and such premises, site or location
                       is not and never was owned or occupied by,
                       or rented or loaned to, any insured, other
                       than that additional insured; or

                (ii)   “Bodily injury” or “property damage”
                       arising out of heat, smoke or fumes from a
                       “hostile fire.”

          (c)   At or from any premises, site or location which is
                or was at any time used by or for any insured or
                others for the handling, storage, disposal,
                processing or treatment of waste;

          (d)   Which are or were at any time transported,
                handled, stored, treated, disposed of, or processed
                as waste by or for:

                (i)    Any insured; or

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                (ii)   Any person or organization for whom any
                       insured may be legally responsible; or

          (e)   At or from any premises, site or location on which
                any insured or any contractor, or subcontractors,
                working directly or indirectly on any insured’s
                behalf, are performing operations if the
                “pollutants” are brought on or to the premises, site
                or location in connection with such operations by
                such insured, contractor or subcontractor.
                However, this subparagraph (e) does not apply to:

                (i)    “Bodily injury” or “property damage”
                       arising out of the escape of fuels, lubricants
                       or other operating fluids which are needed to
                       perform the normal electrical, hydraulic or
                       mechanical functions necessary for the
                       operation of “mobile equipment”, any
                       “auto” covered by applicable “underlying
                       insurance” or the parts of either, if such
                       fuels, lubricants or other operating fluids
                       escape from a vehicle part designed to hold,
                       store or receive them.

                       This exception does not apply if the “bodily
                       injury” or “property damage” arises out of
                       the intentional discharge, dispersal or
                       release of the fuels, lubricants or other
                       operating fluids, or if such fuels, lubricants
                       or other operating fluids are brought on or to
                       the premises, site or location with the intent
                       that they be discharged, dispersed or
                       released as part of the operations being
                       performed by such insured, contractor or
                       subcontractor;

                (ii)   “Bodily injury” or “property damage”
                       sustained within a building and caused by

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                                  the release of gases, fumes or vapors from
                                  materials brought into that building in
                                  connection with operations being performed
                                  by you or on your behalf by a contractor or
                                  subcontractor; or

                          (iii)   “Bodily injury” or “property damage”
                                  arising out of heat, smoke or fumes from a
                                  “hostile fire”.

             (2)   “Pollution cost or expense”.

                   However, this paragraph (2) does not apply to liability for
                   damages because of “property damage” that the insured
                   would have in the absence of any request, demand, order
                   or statutory or regulatory requirements, claims or suit as
                   described in parts (a) or (b) of the definition of “pollution
                   costs or expense.”

                                         29.

      The 2008 Umbrella Policy defines “pollutants” as “any solid, liquid, gaseous

or thermal irritant or contaminant, including smoke, vapor, soot, fumes, acids,

alkalis, chemicals, and waste.        Waste includes materials to be recycled,

reconditioned or reclaimed.”

                                         30.

      The 2008 Umbrella Policy defines “pollution cost or expense” as “any loss,

cost or expense arising out of any:

      a.     Request, demand, order or statutory or regulatory requirement
             that nay insured or others test for, monitor, clean up, remove,


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              contain, treat, detoxify or neutralize, or in any way respond to,
              or assess the effects of “pollutants”; or

      b.      Claim or “suit” by or on behalf of a governmental authority for
              damages because of testing for monitoring, cleaning up,
              removing, containing, treating, detoxifying or neutralizing, or in
              any way responding to or assessing the effects of “pollutants.”

                                          31.

      Grange issued an umbrella policy, policy number CUP 2618438-01 to Indian

Summer as the named insured for the period December 21, 2009 to December 21,

2010 (hereinafter, “the 2009 Umbrella Policy”). A certified copy of the 2009

Umbrella Policy is attached hereto as Exhibit H. The 2009 Umbrella Policy

contains the same Amended Pollution Exclusion endorsement and definitions of

“pollutants” and “pollution cost or expense” as the 2008 Umbrella Policy.

                                          32.

      Grange issued an umbrella policy, policy number CUP 2618438-02 to Indian

Summer as the named insured for the period December 21, 2010 to December 21,

2011 (hereinafter, “the 2010 Umbrella Policy”). A certified copy of the 2010

Umbrella Policy is attached hereto as Exhibit I. The 2010 Umbrella Policy contains

the same Amended Pollution Exclusion endorsement and definitions of “pollutants”

and “pollution cost or expense” as the 2008 Umbrella Policy and the 2009 Umbrella

Policy.

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                                        33.

      Grange issued an umbrella policy, policy number CUP 2618438-03 to Indian

Summer as the named insured for the period December 21, 2011 to December 21,

2012 (hereinafter, “the 2011 Umbrella Policy”). A certified copy of the 2011

Umbrella Policy is attached hereto as Exhibit J. The 2011 Umbrella Policy contains

the same Amended Pollution Exclusion endorsement and definitions of “pollutants”

and “pollution cost or expense” as the 2008 Umbrella Policy, 2009 Umbrella Policy

and 2010 Umbrella Policy.

                                        34.

      The foregoing umbrella policies were delivered to Indian Summer in

Georgia.

                        DECLARATORY JUDGMENT

                                        35.

      Gadsden Water and Centre Water allege that Indian Summer discharges toxic

chemicals, including PFC, PFOA, PFOS and related chemicals, in its industrial

wastewater from its manufacturing facilities in or around Dalton and that these toxic

chemicals resist water treatment at Dalton Utilities’ wastewater treatment plant.




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                                       36.

      Gadsden Water and Centre Water allege that, due to the conduct of Indian

Summer, unsafe levels of PFOA, PFOS and related chemicals are present in their

sources for water, thereby causing damages.

                                       37.

      The allegations by Gadsden Water and Centre Water allege against Indian

Summer in the underlying lawsuits fall within the pollution exclusion in Grange’s

2008 Primary Policy, 2009 Primary Policy, 2010 Primary Policy and 2011 Primary

Policy issued to Indian Summer.

                                       38.

      The allegations by Gadsden Water and Centre Water allege against Indian

Summer in the underlying lawsuits fall within the Amended Pollution Exclusion

endorsement in Grange’s 2008 Umbrella Policy, 2009 Umbrella Policy, 2010

Umbrella Policy and 2011 Umbrella Policy issued to Indian Summer.

                                       39.

      Based on the terms, conditions and exclusions in the Grange policies

(whether expressly mentioned in this Complaint or not), as well as under relevant

legal principles and public policy concerns, Grange seeks the following:




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      (a)   A declaration that Grange has no legal obligation to defend or
            indemnify Indian Summer for the claims asserted by the allegations by
            Gadsden Water and Centre Water in the underlying lawsuits;

      (b)   A jury to resolve all issues so triable; and

      (c)   Other and further relief as is just and proper.


                                       FREEMAN MATHIS & GARY, LLP

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